                                 UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF WISCONSIN

HANNAH PRIDDY,
            Plaintiff,
                                                                         Case No.: 2:22-cv-00474-SCD

v.
DR. NOAH’S ARK VETERINARY CLINIC,
NOAH ARNOLD, ABC INSURANCE
COMPANY,
              Defendants,
                                       NOTICE OF APPEARANCE



          PLEASE TAKE NOTICE that the law firm of Schellinger & Associates, LLC, by Attorney
     Neal C. Schellinger, has been retained to represent the interests of Noah Arnold, more
     appropriately styled as the Estate of Noah S. Arnold by his personal representative, Joshua
     Schulman, who has been named as a defendant in the above-entitled matter, under a reservation of
     rights on the merits. It is requested that all pleadings and discovery be served upon our offices
     located at 316 North Grand Avenue, Waukesha, Wisconsin, 53186.


                    Dated at Waukesha County, Wisconsin this 12th day of July, 2022.




                                                                    SCHELLINGER & ASSOCIATES, LLC
                                                             Attorneys for the Defendant Noah Arnold, more
                                                         appropriately styled as the Estate of Noah S. Arnold
                                                            by his personal representative, Joshua Schulman.

     P.O. ADDRESS:                                                                      s/Neal C. Schellinger
     316 North Grand Avenue                                             By:
     Waukesha, WI 53186                                                                   Neal C. Schellinger
     Phone: (262) 522-7474                                                            State Bar No.: 1000034
     Facsimile: (262) 522-7471




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